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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN

WILLIAM SWARVAR,

            Plaintiff,                            CASE #1:14-cv-1302
v
                                                  HON. PAUL L. MALONEY
MUSKEGON CHARTER TOWNSHIP,
MATTHEW ANDERSON and JOSEPH
LUCE, in their individual and official
capacities,

                   Defendants.


CHRISTOPHER J TRAINOR (P42449) G. GUS MORRIS (P32060)
AMY J. DEROUIN (P70514)          McGRAW MORRIS P.C.
CHRISTOPHER TRAINOR & ASSOCIATES Attorneys for Muskegon Charter
Attorneys for Plaintiff          Township, Matthew Anderson and
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STIPULATED ORDER OF DISMISSAL OF DEFENDANTS, MUSKEGON
CHARTER TOWNSHIP, MATTHEW ANDERSON AND JOSEPH LUCE,
  WITH PREJUDICEAND WITHOUT COSTS AND ATTORNEY FEES
          AS TO PLAINTIFFS AND SAID DEFENDANTS



      The parties having resolved this matter, and the Court being fully advised in

the premises;

      NOW, THEREFORE;
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      IT IS HEREBY ORDERED that this matter be and hereby is dismissed as to

Defendants, MUSKEGON CHARTER TOWNSHIP, MATTHEW ANDERSON,

and JOSEPH LUCE, with prejudice and without costs and attorney fees as to all

Plaintiffs and said Defendants.

      The entry of this Order does conclude this case.



                                              HON. PAUL L. MALONEY
                                              U.S. DISTRICT COURT JUDGE


STIPULATED AND AGREED:

                                             McGRAW MORRIS P.C.

BY: s/Amy J. Derouin w/permission            BY: s/ G. GUS MORRIS
CHRISTOPHER J TRAINOR (P42449)               G. GUS MORRIS (P32960)
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